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 8
     Representing the United States of America
 9
                      UNITED STATES DISTRICT COURT
10
                           DISTRICT OF NEVADA
11
     UNITED STATES OF AMERICA,
12
                    Plaintiff,                   2:16-CR-00046-GMN-PAL
13
              v.                                 GOVERNMENT’S OPPOSITION TO
14                                               DEFENDANT CLIVEN BUNDY’S
     CLIVEN D. BUNDY, et al,                     MOTION IN LIMINE TO EXCLUDE
15                                               LONGBOW EVIDENCE
                    Defendants.                  (ECF Nos. 1488, 1553, 1569 and 1589)
16

17
              CERTIFICATION:        The undersigned certify that this pleading is timely
18
     filed.
19
              The United States, by and through the undersigned, respectfully files this
20
     opposition to defendant Cliven Bundy’s Motion in Limine to Exclude Longbow
21
     Evidence from Trial (ECF No. 1488) which was joined by defendants Ryan Payne
22
     (ECF No. 1553), Dave Bundy (ECF No. 1569) and Jason Woods (ECF No. 1589). As
23
     shown below, Bundy’s motion, long overdue, does not allege that his own statements
24
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 1   were involuntary and is barred under the “law of the case” doctrine—particularly,

 2   by this Court’s Order (ECF No. 1521, Feb. 6, 2017) denying co-defendant Burleson’s

 3   substantively identical arguments regarding coercion related to the undercover

 4   operation.
 5                                             I.
 6
         BACKGROUND:   THIS   COURT   REJECTS  CO-DEFENDANT
     BURLESON’S SUBSTANTIVELY IDENTICAL “LONGBOW CHALLENGE”
 7

 8         As this Court recalls, co-defendant Burleson previously filed motions to

 9   suppress a “videotaped interview,” and a “prior un-Mirandized tape recorded

10   interview.” ECF No. 876, 982. Burleson’s claims arose from statements that he and

11   others made—after the Bunkerville assault—to law enforcement agents posing as

12   documentary film makers from the fictitious “Longbow Production Company.”

13   Burleson alleged that the agents had (among other things) plied him with alcohol

14   before conducting a sham “interview” with him—tactics that (Burleson alleged)

15   rendered involuntary his statements to the “film makers.”
16         In a 12-page written order, Magistrate Judge Leen rejected Burleson’s
17
     arguments, as well as his claims of “coercion.”   ECF No. 1277 at 7-12.     After
18
     Burleson filed objections (ECF No. 1344) and the government responded (ECF No.
19
     1477), this Court, after de novo review, entered an Order adopting the Magistrate
20
     Judge’s findings and denying Burleson’s motion. ECF No. 1521 (Feb. 6, 2017).
21
           As with Burleson, Bundy voluntarily met and spoke with undercover agents,
22
     posing as documentary filmmakers. They met in a hotel room under circumstances
23
     designed to make Bundy believe that he was participating in the documentary by
24
                                           2
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 1   recounting his experiences surrounding the April 12, 2014 assault. None of this is

 2   outrageous conduct or worthy of pretrial review based on this Motion.

 3                                               II.

 4       BUNDY’S MOTION IS LONG OVERDUE AND THE COURT SHOULD
     STRIKE BUNDY’S UNTIMELY MOTION, FILED LATE AND WITHOUT
 5   GOOD CAUSE
 6
           When seeking to suppress evidence, a party must file a pretrial motion. Fed.
 7
     R. Crim. P. 12(b)(3)(C). “If a party does not meet the deadline for making a Rule
 8
     12(b)(3) motion, the motion is untimely.” Id. at 12(c)(3). An untimely motion may
 9
     be considered only if the “party shows good cause.” Id. “The decision whether to
10
     grant an exception to a Rule 12 waiver lies in the discretion of the district court.”
11
     United States v. Tekle, 329 F.3d 1108, 1113 (9th Cir. 2003) (affirming district court’s
12
     denial of untimely motion to suppress because defendant had not shown good cause
13
     for relief from his waiver) (citations omitted).
14
           Bundy’s present motion fall afoul of these rules. His motion seeks to suppress
15
     (or, as he puts it, “prohibit,” see Bundy Mot. at 2) all Longbow evidence. Accordingly,
16
     he should have, but did not, present this argument as a Rule 12 motion. See Fed.
17
     R. Crim. P. 12(b)(3)(C) (motions for suppression of evidence to be raised before trial).
18

19         This Court should decline to entertain Bundy’s motion. This Court’s Case

20   Management Order required that all Rule 12 motions be filed not later than October

21   3, 2016. ECF No. 321. Bundy missed that deadline by more than four months.

22   Inexplicably, and without leave of the Court, he simply files the suppression motion.

23   He provides no reason—let alone the type of good cause required by Tekle—for his

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                                             3
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 1   delay and, indeed, there is none. This Court should, therefore, refuse to entertain

 2   it. 1

 3                                                 III.

 4       BUNDY’S MOTION IS MERITLESS AND BARRED BY THE “LAW OF
     THE CASE” DOCTRINE
 5
              In any event, Bundy’s motion fails because he does not advance any argument
 6

 7   or evidence that his own statements were involuntary. Bundy recycles Burleson’s

 8   failed claims and also provides affidavits from two other individuals, neither of

 9   whom have anything to offer regarding the voluntariness of Bundy’s statements.

10   Bundy’s motion recycles the same arguments advanced by Burleson—arguments

11   that this Court has already rejected. Compare, e.g., ECF No. 1521 at 4 (this Court

12   rules that “there was no police coercion” and that the declarant was neither

13   “impaired” nor “grossly intoxicated”), with Bundy Mot. at 8 (ignoring this Court’s

14   findings, Bundy simply reasserts claim of “coercive police activity”), Attachment at

15   ¶¶6, 9 (Thornton, in a declaration attached to Bundy’s motion, laments that he was
16   duped into speaking to the undercover agents by the presence of “an attractive
17
     woman wearing zebra-pattern tights” and his decision to drink the beer they
18
     “offered” him).
19

20
     1
      As the government pointed out in an opposition to his near-ceaseless attempts to relitigate
21   the issue of his trial counsel, Bundy has—throughout this litigation— repeatedly advanced
     positions that contradict each other, while complaining incessantly about nonexistent
22   “Speedy Trial violations.” See ECF No. 984 at 10-18 (Nov. 16, 2016) (Bundy seeks
     continuance of deadline for pretrial motions, while at the same time 1) demanding an
23   immediate trial, and 2) seeking dismissal based on imagined “violation” of the Speedy Trial
     Act). Bundy’s present motion, filed months after the deadline and mimicking Burleson’s
24   rejected claims, represents just another attempt to game the system.
                                               4
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 1          Bundy also claims his statements should be suppressed on “self-

 2   incrimination” and “right-to-counsel” grounds. Bundy Mot. at 2. But Bundy was

 3   not, and makes no allegation that he was, in custody. Therefore, Bundy did not

 4   have a Sixth Amendment right to counsel nor was he entitled to Miranda warnings

     related to his statements to undercover agents.
 5

 6
            Bundy, like Burleson, also “does not claim that he was subjected to physical
 7
     intimidation of any kind or threatened in any way. ECF No. 1277. Thus Bundy
 8
     fails to allege specific facts that facts would require an evidentiary hearing as to his
 9
     statements. See United States v. Howell, 231 F.3d 615, 620 (9th Cir. 2000) (“An
10
     evidentiary hearing on a motion to suppress need be held only when the moving
11
     papers allege facts with sufficient definiteness, clarity, and specificity to enable the
12
     trial court to conclude that contested issues of fact exist.”). 2
13
            Bundy without citation to any relevant authority claims that the use of an
14
     undercover operation amounted to “unprecedented outrageous governmental
15
     conduct, never before unleashed in any Anglo-American common law country, and
16
     is reminiscent of governmental practices in third world, Soviet-style regimes.” But
17
     Bundy fails to even attempt to address the six primary factors courts use to evaluate
18

19   such claims. See United States v. Black, 733 F.3d 294, 302 (9th Cir. 2013). Of course

20   undercover investigations are often vitally important. Accordingly, courts have

21   repeatedly upheld the use of undercover operations and the deceit that necessary

22   accompanies that practice. See e.g. Hoffa v. United States, 385 U.S. 293 (1966)

23
     2Bundy did not exhibit a copy of his recorded statement seeks to exclude. The Government
24   attaches the recording as Exhibit A.
                                               5
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 1   (holding that placing an undercover agent near a subject in order to gather

 2   incriminating information was permissible under the Fifth Amendment).

 3         In adopting Magistrate Judge Leen’s well-reasoned Order (ECF No. 1277),

 4   this Court’s prior ruling:     1) established the propriety of the government’s

     undercover operation; 2) rejected the need for any evidentiary hearing, much less
 5

 6
     the “global evidentiary hearing” (Bundy Mot. at 8) Bundy now demands; and 3)
 7
     deemed admissible Burleson’s voluntary, non-coerced statements. See id. at 3-5.
 8
     Because Bundy raises the same legal arguments as did Burleson (to which Bundy
 9
     merely adds commentary about “Soviet-style regimes,” the spending of “taxpayer
10
     money . . . with wild abandon,” and “dream sequences,” Bundy Mot. at 2-4), and
11
     because this Court rejected those same arguments, the law of the case doctrine
12
     precludes Bundy from revisiting this Court’s settled rulings:
13
              This Court’s prior ruling on Plaintiff’s . . . claims constitutes ‘law of the
14            case,’ and “[u]nder the doctrine of law of the case, a court is generally
              precluded from reconsidering an issue that has already been decided
15            by the same court . . . .” Rebel Oil Co., Inc. v. Atl. Richfield Co., 146
              F.3d 1088, 1093 (9th Cir. 1998) . . . . “A court may have discretion to
16            depart from the law of the case where: 1) the first decision was clearly
              erroneous; 2) an intervening change in the law has occurred; 3) the
17
              evidence on remand is substantially different; 4) other changed
              circumstances exist; or 5) a manifest injustice would otherwise result.”
18
              Thomas v. Bible, 983 F.2d 152, 155 (9th Cir. 1993).
19
     Zierolf v. Wachovia Mortg., No. C-12-3461 EMC, 2012 WL 6161352, at *4 (N.D. Cal.
20
     Dec. 11, 2012). Bundy’s motion thus fails.
21
           Finally, Bundy’s demand that his motion be heard by an “Article III Judge”
22
     (Bundy Mot. at 8) is yet another improper attack on the judiciary. See e.g Bundy v.
23
     Navarro et al., 16-cv-1047, EFC No. 1 at (describing Chief Judge Navarro as a
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                                             6
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 1   “Latino (sic) activist.”). The record in this case demonstrates that Magistrate Judge

 2   Leen has carefully and diligently addressed all of the parties’ motions, resulting in

 3   lengthy written orders and reports and recommendations, and hearings when

 4   appropriate.

           WHEREFORE, for all the foregoing reasons, the government respectfully
 5

 6
     requests that this Court deny Cliven Bundy’s motion, ECF No. 1488.
 7
           DATED this 16th day of February, 2017.
 8
                                            Respectfully,
 9
                                            DANIEL G. BOGDEN
10                                          United States Attorney

11                                                //s//
                                            ______________________________
12                                          STEVEN W. MYHRE
                                            NICHOLAS D. DICKINSON
13                                          NADIA J. AHMED
                                            Assistant United States Attorneys
14                                          ERIN M. CREEGAN
                                            Special Assistant United States Attorney
15
                                            Attorneys for the United States
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 1                             CERTIFICATE OF SERVICE

 2         I certify that I am an employee of the United States Attorney’s Office. A copy

 3   of the foregoing GOVERNMENT’S OPPOSITION TO DEFENDANT CLIVEN

 4   BUNDY’S MOTION IN LIMINE TO EXCLUDE LONGBOW EVIDENCE was

     served upon counsel of record, via Electronic Case Filing (ECF).
 5

 6
           DATED this 16th day of February, 2017.
 7

 8
                                                  /s/ Steven W. Myhre
 9                                          ______________________________
                                            STEVEN W. MYHRE
10                                          Assistant United State Attorney

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